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                      EXHBIT 1
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From:             Baron Coleman
To:               Edward Caspar
Cc:               Baron Coleman Law Firm; David Brody
Subject:          Re: Service on Stop the Steal, LLC; Smith, et al., v. Trump, et al.
Date:             Sunday, October 31, 2021 10:01:26 AM
Attachments:      summons for stop the steal.pdf
                  001 - Complaint.pdf
                  notice of right to trial before magistrate.pdf


I was finally able to open this.

Please consider today the date of service.

Sent from my iPhone


      On Oct 28, 2021, at 8:13 AM, Edward Caspar <ecaspar@lawyerscommittee.org>
      wrote:



      Mr. Coleman, per your request, attached to this email are the service documents in the
      above-referenced civil case in the U.S. District Court for the District of Columbia. Please
      let me know right away if you are unable to access the files.

      All the best,

      Ed Caspar

      From: Baron Coleman Law Firm <baron@baroncoleman.com>
      Sent: Thursday, October 28, 2021 6:46 AM
      To: Edward Caspar <ecaspar@lawyerscommittee.org>
      Cc: David Brody <dbrody@lawyerscommittee.org>
      Subject: Re: Service on Stop the Steal, LLC; Smith, et al., v. Trump, et al.

      I absolutely am NOT ducking service, but for some reason the attachments are
      coming through.

      Please email my personal account, baroncoleman@gmail.com. I fear there’s a
      problem with this service.

      G. Baron Coleman
      Baron Coleman Law Firm
      Three South Jackson Street
      PO Box 789
      Montgomery, AL 36101-0789
      (334) 625-9097

      **************
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      On Oct 19, 2021, at 11:57 AM, Edward Caspar
      <ecaspar@lawyerscommittee.org> wrote:


      Mr. Coleman, it looks like you received the attachments on October 14 in
      the email from Rebecca Short on which I was copied. For ease of
      reference, I attached it to my last email, and I reattach it here. Please
      have look and let me know.

      Ed

      From: Baron Coleman <baron@baroncoleman.com>
      Sent: Tuesday, October 19, 2021 12:26 PM
      To: Edward Caspar <ecaspar@lawyerscommittee.org>
      Cc: David Brody <dbrody@lawyerscommittee.org>
      Subject: Re: Service on Stop the Steal, LLC; Smith, et al., v. Trump, et al.

      I still have not received any attachments. No service at this time.

      Please forward me the attachments.
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         On Oct 19, 2021, at 9:56 AM, Edward Caspar
         <ecaspar@lawyerscommittee.org> wrote:

         Mr. Coleman, per our conversation last week, could you
         please acknowledge receipt of service and let us know
         whether you accept it?

         Thanks for your attention to this.

         Ed

         From: Edward Caspar
         Sent: Thursday, October 14, 2021 1:15 PM
         To: Baron Coleman <baron@baroncoleman.com>
         Cc: David Brody <dbrody@lawyerscommittee.org>
         Subject: RE: Service on Stop the Steal, LLC; Smith, et al., v.
         Trump, et al.

         Hi, Baron. We’re working with Capitol Process to help serve
         all the defendants in this case, and I’ve asked them to send
         you the emails with all the papers. They will copy me on the
         email. I think Rebecca Short from their office just sent you
         everything.

         Thanks again, Baron. I’ll look forward to hearing from you on
         this.

         Ed

         From: Baron Coleman <baron@baroncoleman.com>
         Sent: Thursday, October 14, 2021 12:04 PM
         To: Edward Caspar <ecaspar@lawyerscommittee.org>
         Cc: David Brody <dbrody@lawyerscommittee.org>
         Subject: Re: Service on Stop the Steal, LLC; Smith, et al., v.
         Trump, et al.

         [EXTERNAL EMAIL] This email originated outside the
         organization. Do not click any links or open any attachments unless
         you can verify the legitimacy.
         I do not see an attachment. Can you please try
         forwarding again?

         Thanks,

         Baron

         G. Baron Coleman
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         Baron Coleman Law Firm
         Three South Jackson Street
         PO Box 789
         Montgomery, AL 36101-0789
         (334) 625-9097

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               On Oct 14, 2021, at 10:12 AM, Edward
               Caspar <ecaspar@lawyerscommittee.org>
               wrote:

               Baron, thank you for talking with me this
               morning and for suggesting that I go ahead and
               email you the papers to be served on Stop the
               Steal. I understand that once you receive the
               papers, you will email me back to let me know
               whether you will accept service by email, or
               whether we need to make any corrections in
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              service.

              I will coordinate with our process servers on
              this, and they will copy me on the email.

              Copying my co-counsel.

              Thanks again,

              Ed

              Edward Caspar (he, him, his)
              Senior Counsel
              Lawyers' Committee for Civil Rights Under Law
              1500 K Street NW, Suite 900
              Washington, DC 20005
              (202) 662-8390
              ecaspar@lawyerscommittee.org
              www.lawyerscommittee.org
              <image001.jpg>



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              Senior Counsel
              Lawyers' Committee for Civil Rights Under Law
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              ecaspar@lawyerscommittee.org
              www.lawyerscommittee.org
              <image001.jpg>

         <Mail Attachment.eml>
